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      Attorneys for Defendants,
  7   Infowars, LLC and Free Speech Systems, LLC
  8
  9                   IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      MATT FURIE,                                    Case No. 2:18-cv-01830-MWF-JPR
 12
 13                 Plaintiff,                       DEFENDANTS’ REPORT RE:
                                                     NON-DISCLOSURE OF
 14          vs.                                     EXHIBITS TO OPPOSITION TO
 15                                                  PLAINTIFF MATT FURIE’S
      INFOWARS, LLC; FREE SPEECH                     MOTION FOR PARTIAL
 16   SYSTEMS, LLC,                                  SUMMARY JUDGMENT
 17
                    Defendants.                      Case Filed: March 5, 2018
 18                                                  Trial Date: July 16, 2019
 19
 20         Per the Court’s Minute Order of May 16, 2019 on the parties’ cross-motions for
 21   summary judgment (Doc. No. 122), Defendants Free Speech Systems, LLC and
 22   Infowars, LLC (collectively, “Defendants”) hereby file their Report re: Non-disclosure
 23   of Exhibits to Opposition to Plaintiff Matt Furie’s Motion for Partial Summary
 24   Judgment.
 25         The Court requests that Defendants provide an explanation as to why they did
 26   not previously disclose Exhibits 10-13, 15-21, 26-27, 37, and 43 to Defendants’ Motion
 27
 28                                               -1-
                                  Report re: Non-Disclosure of Exhibits
                                       2:18-cv-01830-MWF-JPR
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  1   for Summary Judgment (Doc. No. 88) (the “Motion”) and Exhibits 2-12, 14-15, 17,
  2   and 18 to Defendants’ Opposition to Mr. Furie’s Motion for Partial Summary
  3   Judgment (Doc. No. 95) (the “Opposition”). As explained in the attached Declaration
  4   of Alex J. Shepard, Defendants’ counsel either produced versions of these documents
  5   during discovery,1 reasonably thought Mr. Furie was already aware of these documents,
  6   or for the first time accessed and retrieved these documents after the parties filed their
  7   motions for summary judgment.
  8
  9         Dated: May 17, 2019.                Respectfully submitted,
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                                                RANDAZZA LEGAL GROUP, PLLC
 11                                             /s/ Alex J. Shepard
                                                Alex J. Shepard, CA Bar No. 295058
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                                                Marc J. Randazza, CA Bar No. 269535
 13                                             2764 Lake Sahara Drive, Suite 109
                                                Las Vegas, NV 89117
 14
 15                                             Attorneys for Defendants,
                                                Infowars, LLC and
 16                                             Free Speech Systems, LLC
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              As explained in Mr. Shepard’s Declaration, versions of Exhibits 10 and 15-21
 24   to the Motion were disclosed to Mr. Furie during the course of discovery. Exhibit 12
 25   to the Motion and Exhibits 6-7 to the Opposition are properly authenticated version of
      documents to which Mr. Furie refers in his Second Amended Complaint. Mr. Furie
 26   was thus aware of all these documents during the discovery period and cannot claim
 27   any prejudice.

 28                                               -2-
                                  Report re: Non-Disclosure of Exhibits
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  1                                                       Case No. 2:18-cv-01830-MWF-JPR
  2                            CERTIFICATE OF SERVICE
  3         I HEREBY CERTIFY that on May 17, 2019, I electronically filed the foregoing
  4   document with the Clerk of the Court using CM/ECF. I further certify that a true and
  5   correct copy of the foregoing document is being served via transmission of Notice of
  6   Electronic Filing generated by CM/ECF.
  7                                          Respectfully submitted,
  8
                                             /s/ Alex J. Shepard
  9                                          Alex J. Shepard
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                               Report re: Non-Disclosure of Exhibits
                                    2:18-cv-01830-MWF-JPR
